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                                                                                                     March 13,2019


            The Honorable George C. Hanks Jr
            United States District Judge
            601 Rosenberg, 6th Floor
            Galveston, TX77550

                        Re       C.A. No. No. 3:18-cv-270; Jude Akuechiamq. v. US. Bank, N.A.; ln the U.S
                                 District Court, Southern District of Texas, Galveston Division

            Dear Judge Hanks,

                        I
                     am writing on behalf of my client, U.S. Bank, N.4., Successor Trustee to Bank of
            America, N.4., Successor in Interest to LaSalle Bank N.4., as Trustee, on Behalf of the Holders
            of the V/ashington Mutual Mortgage Pass-Through Certificates, WMALT Series 2006-2 (as
            improperly named) ("Defendant" or "Trustee").

                        To the extent the Court finds   necessary I am hereby requesting a Pre-Motion    it
             Conference pursuant to the requirements of No. 6 of the Court's Procedures in advance of the
            filing of my client's Motion for Summary Judgment on all claims of Plaintiff. If the Court does
            not find it necessary, I am seeking permission to file my client's intended motion for summary
            judgment on all of Plaintiff s claims.

                        This suit involves a first lien mortgage memoríalized by a December 16,           2005
            Promissory Note and Deed of Trust     (the "Loan") executed by Jude Akuechiama       ("Borrower" or
            "Plaintiff'). Borrower is past due for the January 1,2017 mortgage payment and all subsequent
            payments due under the Loan. Plaintiff filed this suit to delay an attempted foreclosure sale and
            obtained an ex parte temporary restraining order in state court. Borrower has made no payments
            since filing this action. Plaintiff s claims consist of attempted causes of action for breach of
            contract and violations of Regulation X of RESPA relating to loss mitigation, violations of the
            Texas Debt Collections Act, and fraud. Prior to removing the action to this Court, Defendant
            filed an answer and denies all claims asserted by Plaintiff both legally and factually.

                        In the Motion for Summary Judgment, my client will show that the Borrower's claims
            fail             of law and that there is or should be no dispute that Borrower is in default on his
                   as a matter
            payment obligations under the Loan. Additionally, contrary to Borrower's allegations, there is
            no legal obligation by Defendant to provide him with a loan modification agreement.

                    Please schedule a Pre-Motion Conference, if the Court deems that to be necessary in this
            action, so that my client may file its intended Motion for Summary Judgment. I have conferred
            via telephone with counsel for Plaintiff and he and his client are opposed to the relief that will be

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sought in my client's Motion for Summary Judgment. As an aside, we continue to exhaust
settlement options, however the dispositive motions deadline in this action is April 12,2019, and
there is no guarantee this action will settle.

           Thank you in advance for your continued attention to this matter.

                                                Sincerely,

                                                HrnscH & V/nsrHBrMER, P.C.


                                                By: /s/ Michael F. Hord
                                                    Michael F. Hord, Jr

MFH/bde




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